Case 3:05-bk-03817-JAF Doc 9103 Filed 07/10/06 Page 1 of1

Debt Acquisition Company of America V, LLC
1565 Hotel Circle South, Suite 310
San Diego, CA 92108

(619) 220-8900
UNITED STATES BANKRUPTCY COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
In re: Chapter 11

Case No. 05-03817 (3F1)

WINN-DIXIE STORES, INC., et al.,
Winn-Dixie Montgomery, Inc.

Jointly Administered

NOTICE OF TRANSFER OF CLAIM
OTHER THAN FOR SECURITY AND
WAIVER OF NOTICE

Bankruptcy Rule 3001(e)(1)

PLEASE TAKE NOTICE that the scheduled claim of CARDTRONICS (“Transferor”) against the
Debtor in the amount of $172.80, as listed within Schedule F of the Schedules of Assets and Liabilities filed by the
Debtor, and all claims of Transferor have been transferred and assigned other than for security to Debt Acquisition
Company of America V, LLC (“DACA”). The signature of the Transferor on this document is evidence of the
transfer of the claims and all rights there under. Transferor hereby agrees to waive notice as described by
Bankruptcy Rule 3001 (e)(1).

I, the undersigned Transferor of the above-described claims, hereby assign and transfer my claims and all rights
there under to DACA upon terms as set forth herein and in the offer letter received. I authorize DACA to take the steps
required to transfer the above claim or claims into their name. I represent and warrant that the claim is not less than
$172.80 and has not been previously objected to, sold, or satisfied. Upon notification by DACA, I agree to reimburse
DACA a pro-rata portion of the purchase price if the claim is reduced, objected to, or disallowed in whole or part by the
Debtor, the Court, or any other party. Other than as stated above, DACA assumes all risks associated with the debtor’s
ability to distribute funds. 1 agree to deliver to Debt Acquisition Company of America any correspondence or payments
received subsequent to the date of this agreement. The clerk of the court is authorized to change the address regarding
the claim of the Transferor to that of the Transferee listed below.

Debtors.

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TRANSFEROR:
CARDTRONICS
3110 HAYES RD STE 300 HOUSTON TX 77082
Print Name 17 ene Amos tite Collechon Speciali st
1
Signature, dayne. Lat pae J-b-Olp
Updated Address (if needed)
Phone £00 78le-Tbbl ext. ate Fax 26\-WleS-\Tl95 E-Mail {Washington-arraseoandtronicsn
TRANSFEREE:

DEBT ACQUISITION COMPANY OF AMERICA V, LLC
1365 Hotel Circle South, Suite 310, San Diego, CA 92108

Signature:

Mail Ref 3-86
2531334
